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IN THE UNITED sTATES DISTRICT CoURT ' Fff»’-?D 3`*' » D-C-
FoR THE WESTERN DISTRICT oF TENNESSEE,_ 1 -» . ~» ‘
wEsTERN DlvlsloN 1 . 05 JU?‘£ -6 PN 3= 59

 

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. - LET. `, …~'.§. `.~n . l.
ozARK MoToR LINEs, INC., w_c>. lasz m sain-iam

Plaintiffs,
VS. NO. 05-2211-BP

KAISER FOUNDATION HEALTH PLAN,
lNC.,

Defendants.

 

RULE 16(b) SCHEDULING ORDER

 

Pursuant to the scheduling conference set by written notice, the following dates Were

established as the final dates for:
.lOINlNG PARTIES: July 29, 2005
INITIAL MOTIONS TO DISMISS: July 29, 2005
AMENDING PLEADINGS: July 29, 2005
COMPLETING ALL DISCOVERY: December 29, 2005
(a) DOCUMENT PRODUCTION: December 29, 2005
(b) DEPOSITlONS, IN'FERROGATORIES and REQUEST FOR ADMISSIONS:

December 29, 2005

This document entered on the docket heat in comp|`ance
mm ama se and/or 79(3) FRCP on é ' § “G

 

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(c) EXPERT DIsCLosURE (Rule 26);

(l) DISCLOSURE OF PLAINTIFF’S RULE 26 EXPERT

lNFORMATION: December 29, 2005

(2) DlSCLOSURE OF DEFENDANT’S RULE 26

EXPERT INFORMATION: December 29, 2005

(3) EXPERT WITNESS DEPOSITIONS: January 27, 2006

FIL[NG DlSPOSITIVE l\/IOTIONS (INCLUDING MOTIONS FOR SUMMARY

JUDGMENT): March 15, 2006

OTHER RELEVANT MATTERS:

 

 

No depositions may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other filing that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to respond by the time permitted

by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or the service of the response, answer, or objection, which is the
subject of the motion, if the default occurs within 30 days of the discovery deadline, unless the
time for filing of such motion is extended for good cause shown, or the objection to the default,

response, answer, or objection shall be waived

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This case is set for a non-jury trial. The pretrial order date, pretrial conference date, and

trial date will be set by the presiding judge. lt is anticipated that the trial will last two (2) days.

The parties agree that this case Will be appropriate for alternative dispute resolution at the
appropriate time, and agree to submit this matter to mediation subsequent to the close of

discovery, or at another time agreed upon by counsel for the parties.

'l`he parties are reminded that pursuant to Local Rule ll(a)(l)(A), all motions, except

motions pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. lf a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting

forth the reasons for which a reply is required.
The parties have not consented to trial before the magistrate judge.

This order has been entered after consultation with trial counsel pursuant to notice.

Absent good cause shown, the scheduling dates set by this order will not be modified or

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TJ M'_Pham
UNITED sTATEs MAGISTRATE JUDGE

DATE: :l_uh)`_ l¢/ 7/<105

extended

 

 

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APPROVED FOR ENTRY:

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:05-CV-02211 was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed

 

 

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Honorable .1. Breen
US DISTRICT COURT

